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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OKLAHOMA

  PAUL KEENE [1],                               )
                                                )
        Plaintiff,                              )
                                                )
        v.                                      )       No. 14-cv-709-TCK-PJC
                                                )
  GC SERVICES, LP [2]                           )
                                                )
        Defendant.                              )

                                 PLAINTIFF’S COMPLAINT

        Plaintiff, PAUL KEENE (“Plaintiff”), through his attorney, Victor R. Wandres, alleges the

  following against Defendant, GC SERVICES, LP (“Defendant”):

                                        INTRODUCTION

     1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

        U.S.C. 1692 et seq. (“FDCPA”).

     2. Count II of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47

        U.S.C. 227, et seq. (“TCPA”).

                                JURISDICTION AND VENUE

     3. This Court has jurisdiction under 28 U.S.C. §1331 and 15 U.S.C. §1692k.

     4. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

        actions may be brought and heard before “any appropriate United States district court

        without regard to the amount in controversy.”

     5. This Court has jurisdiction over Plaintiff’s TCPA claim pursuant to Mims v. Arrow

        Financial Svcs. LLC, 132 S. Ct. 740, 2012 WL 125249 (Jan. 18, 2012).



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     6. Venue and personal jurisdiction in this District are proper because Defendant does or

        transacts business within this District, and a material portion of the events at issue occurred

        in this District.

                                             PARTIES

     7. Plaintiff is a natural person residing in Pryor, Mayes County, Oklahoma.

     8. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).

     9. Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

     10. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

     11. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

     12. Defendant is a business entity engaged in the collection of debt within the State of

        Oklahoma.

     13. Defendant is a Delaware Limited Partnership with its headquarters in Houston, Harris

        County, Texas.

     14. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

        account balances.

     15. The principal purpose of Defendant’s business is the collection of debts allegedly owed to

        third parties.

     16. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

     17. During the course of its attempts to collect debts allegedly owed to third parties, Defendant

        sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or

        electronic mail, and initiates contact with alleged debtors via various means of

        telecommunication, such as by telephone and facsimile.


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     18. Defendant acted through its agents, employees, officers, members, directors, heirs,

         successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                    FACTUAL ALLEGATIONS

     19. Defendant is attempting to collect a consumer debt from Plaintiff regarding a student loan.

     20. The alleged debt owed arises from transactions for personal, family, and household

         purposes.

     21. Within in the last year, Defendant has been attempting to collect on the alleged debt.

     22. For over a year up to at least June 2014, Defendant has been calling at least twice per

         week.

     23. Defendant called Plaintiff’s cellular telephone at 918-530-XXXX in an attempt to collect

         on the alleged debt.

     24. In addition to live collector’s calling Plaintiff, Defendant has placed calls with

         prerecorded messages to Plaintiffs cellular phone.

     25. Upon speaking with a live collector, Plaintiff explained that he was in a payment

         rehabilitation program paying a money order of $50 dollars a month.

     26. Upon hearing about the rehabilitation program, Defendant stated that it was routine to call

         at least once a week.

     27. After this initial call, Defendant called Plaintiff at least once a week asking if Plaintiff has

         changed his permission regarding the rehabilitation program.

     28. On or around July 2013, Plaintiff informed Defendant to stop calling his work.

     29. However, Defendant continued to call Plaintiff’s work all the way through at least March

         2014.

     30. On or around March 2014, Plaintiff again informed Defendant to stop calling his work.
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     31. In addition to these calls, Defendants have called from various numbers including 918-

        379-XXXX and through Defendant’s collector, Claudia at 855-229-XXXX.

     32. During these calls, Defendant has threatened to garnish Plaintiff’s wages.

     33. Defendant called Plaintiff using an autodialer system.

     34. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. §

        227(a)(1), to place its repeated collection calls to Plaintiff seeking to collect the debt

        allegedly owed.

     35. Defendant’s phone system has the capacity to store or produce telephone numbers to be

        called, using a random or sequential number generator.

     36. Plaintiff never provided Plaintiff’s cellular telephone number to Defendant and never

        provided Plaintiff’s consent to Defendant to be contacted on Plaintiff’s cellular telephone.

     37. If Defendant at one time had consent to place calls to Plaintiff’s cellular telephone number,

        it no longer has consent to call Plaintiff after being instructed by Plaintiff to cease all calls

        to him.

     38. Defendant’s calls constituted calls that were not for emergency purposes as defined by 47

        U.S.C. § 227(b)(1)(A).

     39. Defendant’s calls were placed to telephone number assigned to a cellular telephone service

        for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

     40. Plaintiff is not a customer of Defendant’s services, has never provided any personal

        information, including Plaintiff’s cellular telephone number, to Defendant for any purpose

        whatsoever.

     41. Accordingly, Defendant never received Plaintiff’s “prior express consent” to receive calls

        using an automatic telephone dialing system or an artificial or prerecorded voice on
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        Plaintiff’s cellular telephone pursuant to 47 U.S.C. 227(b)(1)(A).

     42. Despite this, Defendant continued to place repeated collection calls to Plaintiff, on

        Plaintiff’s cellular telephone, using an “automated telephone dialing system.”

                              COUNT I
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

     43. Defendant violated the FDCPA based on the following:

            a. Defendant violated §1692c(a)(3) of the FDCPA by continuing to call Plaintiff at

               her place of employment after Plaintiff told Defendant to stop calling when

               Defendant continued to call Plaintiff’s work after telling them to stop on numerous

               occasions;

            c. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

               consequence of which is to harass, oppress, or abuse any person in connection with

               the collection of an alleged debt when Defendant repeatedly and continuously

               contacted Plaintiff multiple times per week with live collectors and automated calls

               and encouraging Plaintiff to discontinue his rehabilitation program;

            d. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring or

               engaging any person in telephone conversation repeatedly or continuously with

               intent to annoy, abuse, or harass any person at the called number when Defendant

               threatened to garnish Plaintiff’s wages on multiple occasions;

            e. Defendant violated §1692e of the FDCPA by using false, deceptive, or misleading

               representations or means in connection with the collection of a debt;

            f. Defendant violated §1692e(4) of the FDCPA by representing that the nonpayment

               of any debt will result in the garnishment of any wages of any person unless such

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                action is lawful and collector intends to take such action when Defendant

                threatened to garnish Plaintiff’s wages on multiple occasions.

     44. Defendant’s acts as described above were done intentionally with the purpose of coercing

        Plaintiff to pay the alleged debt.

     45. As a result of the foregoing violations of the FDCPA, Defendant is liable to Plaintiff for

        actual damages, statutory damages, and costs and attorney’s fees.

        WHEREFORE, Plaintiff, PAUL KEENE, respectfully requests judgment be entered

  against Defendant, GC SERVICES, LP, for the following:

     46. Actual damages;

     47. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

        U.S.C. 1692k;

     48. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

        15 U.S.C. 1692k; and

     49. Any other relief that this Honorable Court deems appropriate.

                                    COUNT II
                             DEFENDANT VIOLATED THE
                       TELEPHONE CONSUMER PROTECTION ACT

     50. Plaintiff repeats and re-alleges paragraphs 1-42 of Plaintiff’s Complaint as the allegations

        in Count I of Plaintiff’s Complaint.

     51. Defendant’s conduct violated the TCPA by:

            a. Placing non-emergency unsolicited text messages to Plaintiff’s cellular telephone

                using an automatic telephone dialing system and/or texting system in violation of

                47 U.S.C. § 227 (b)(1)(A)(iii) Defendant repeatedly and continuously contacted

                Plaintiff’s cellular phone multiple times per week with automated calls.
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        WHEREFORE, Plaintiff, PAUL KEENE, respectfully requests judgment be entered

  against Defendant, GC SERVICES, LP, for the following:

     52. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled

        to and requests $500 in statutory damages, for each and every violation, pursuant to 47

        U.S.C. 227(b)(3)(B).

     53. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1),

        Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500,

        for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C.

        227(b)(3)(C).

     54. Plaintiff is entitled to and seek injunctive relief prohibiting such conduct in the future.

     55. Any other relief that this Honorable Court deems appropriate.

                                                Respectfully submitted,

                                                /s/ Victor R. Wandres       _
                                                Victor R. Wandres, OBA #19591


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